Case 5:22-cv-03123-JWL Document 57 Filed 07/19/23 Page 1 of 3

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Anthony S. Kidd

#93399 ,
El Dorado Corréctional Facility . s 75 = ;
P.O. Box 311. Co ( pi. Wh S222-CV-O 12S" L)

Bl Dorado, KS 67042.

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Case 5:22-cv-03123-JWL--Document 57 Filed 07/19/23 Page2of3 = © yes :

Attachment A, IMPP 04-103D
Effective 08-24-21
Kansas Department of Corrections

Account Withdrawal Request

(Complete One Request per Form)
Attach letter and addressed/stamped envelope when required
Lay SfEAI 793299 fbhnats Of116 Wy7/20 23

Prinjéd Name Number Faolfity UnitCell Location /Date ¢

Please pay the following and charge to my account: ‘
Outgoing Funds/Donations

Payable To: Lhenk tf. 5 L S tp iL. / Lo gv at Title of Publication® \
Name Frequency = (Circle One) '
$282.88

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Yearly Monthly Weekly Dally Other

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. City, State, Zip (Per IMPP 41-101)
Purpose/inmate Benefit Fund Group
i request the use of Forced Savings as provided in iMPP 04-108, for. 1 Community Identificatian
(Documentation Required) Clvil Filing, Transcript or Subpoena Fees

fl Reentry Into the Community (Warden's Approval Required)

fTo Be Completed by Maiiroom), Postage — (To Be Completed by Inmate)

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$ Cl a
Postage Amount Legal/Official Postage Adcress
(Per KAR, 44-12-8601}
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Reason S
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Resident Signature“ Date Unit Team Approval Date
Handicraft Approval (if Applicable) Date Religious Approval (If Applicable} Date
{I Applies to Outgeing Funds Limit
CI Does Not Apply to Outgoing Funds Limit
Exception Approval Date CT] Use of Forced Savings Approval as requested above

This withdrawal request is being returned for the following reason(s):

Insuficlent Funds Payee Missing
Signature Missing Insufficient Address

Exceeds Spending Limit Amount Missing
Incentive Level Name/Number — Do Not Match
Envelope/Ordar/Stamp Missing illegible information “>

IIT dt

Unauthorized Per IMPP/KAR

Other -)

Account Processor Date Withdrawn Acct, Use

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Case 5:22-cv-03123-JWL...Bocument 57 Filed 07/19/23 Page 3 of 3
Attachment A, IMPP 04-103D
Effective 08-24-21
Kansas Department of Corrections
Account Withdrawal Request

(Complete One Request per Form)
Attach letter and addressed/stamped envelope when required

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Number Facllity Urilt/Gell Location

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Prinjéd Name

Please pay the following and charge to my account:
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utgoing Funds/Donations

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Number of issues

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Explration Date

Jo pe KG, /25 b é b & S re Book, Magazine or News Paper
Jo o S, P end City, State, Zip (Per IMPP 17-104)

Purpose/Inmate Benefit Fund Group

O Community identification
O Civil Filing, Transcript or Subpoena Fees
O Reentry inte the Community (Warden's Approval Required)

i request the use of Forced Savings as provided In IMPP 04-103, for
(Documentation Required)

Postage — (To Be Completed by Inmate)

{To Be Completed by Mailroom)
To:
J Postage Name
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(Per KLAR, 44-42-8601)
[J Certified Cit
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(Only if Funds are Available) 4 / io H#
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Verified By ZSE.50 from ma fv Ailadk :
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Resident Sigpature Unit Team Approval Date

Handicraft Approval (if Applicable} Date Religious Approval (if Applicable) Date

L] Applies to Outgoing Funds Limit
[] Does Not Apply to Outgoing Funds Limit
Exception Approval Date FT Use of Forced Savings Approval as requested above
This withdrawal request is being returned for the following reason(s):
___ insufficient Funds _. Payee Missing
__ Signature Missing ____ Insufficient Address
__.._Exeeeds Spending Limit _. Amount Missing
__.__ Incentive Level __.. Name/Number — Do Not Match
__._ Envelope/Order/Stamp Missing __. HMegible Information
_.. Unauthorized Per IMPP/KAR __. Other
Account Processor Date Withdrawn Acct, Use

